                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF ARKANSAS
                            FAYETTEVILLE DIVISION

FAYETTEVILLE PUBLIC LIBRARY, a political subdivision
in the City of Fayetteville, State of Arkansas;
EUREKA SPRINGS CARNEGIE PUBLIC LIBRARY;
CENTRAL ARKANSAS LIBRARY SYSTEM;
NATE COULTER; OLIVIA FARRELL; HAYDEN KIRBY;
MIEL PARTAIN, in her own capacity and as parent and
next friend of MADELINE PARTAIN; LETA CAPLINGER;
ADAM WEBB; ARKANSAS LIBRARY ASSOCIATION;
ADVOCATES FOR ALL ARKANSAS LIBRARIES;
PEARL’S BOOKS, LLC; WORDSWORTH COMMUNITY
BOOKSTORE LLC d/b/a WORDSWORTH BOOKS;
AMERICAN BOOKSELLERS ASSOCIATION;
ASSOCIATION OF AMERICAN PUBLISHERS, INC.;
AUTHORS GUILD, INC.; COMIC BOOK LEGAL DEFENSE
FUND; and FREEDOM TO READ FOUNDATION                                                    Plaintiffs

                                Case No. 5:23-cv-05086-TLB

CRAWFORD COUNTY, ARKANSAS;
CHRIS KEITH, in his official capacity as Crawford County Judge;
TODD MURRAY; SONIA FONTICIELLA; DEVON HOLDER;
MATT DURRETT; JEFF PHILLIPS; WILL JONES; TERESA HOWELL;
BEN HALE; CONNIE MITCHELL; DAN TURNER; JANA BRADFORD;
FRANK SPAIN; TIM BLAIR; KYLE HUNTER; DANIEL SHUE;
JEFF ROGERS; DAVID ETHREDGE; TOM TATUM, II; DREW SMITH;
REBECCA REED MCCOY; MICHELLE C. LAWRENCE;
DEBRA BUSCHMAN; TONY ROGERS; JOSHUA ROBINSON;
CAROL CREWS; KEVIN HOLMES; CHRIS WALTON; and
CHUCK GRAHAM, each in his or her official capacity as
a prosecuting attorney for the State of Arkansas.                                  Defendants

MIEL PARTAIN’S, AS PARENT AND NEXT FRIEND OF MADELINE PARTAIN, OBJECTIONS AND
RESPONSES TO DEFENDANTS PROSECUTING ATTORNEYS’ FIRST SET OF INTERROGATORIES
                         AND REQUESTS FOR PRODUCTION

       Miel Partain, as Parent and Next Friend of Madeline Partain, provides the following

objections and responses to Defendants Prosecuting Attorneys’ First Set of Interrogatories and

Request for Production in accordance with Federal Rules of Civil Procedure 33 and 34.
                                           Interrogatories

        INTERROGATORY NO. 1: Identify five items that (1) you wish for your daughter to

 read, browse, or view or that she wishes to read, browse, or view and (2) you believe or she

 believes are subject to regulation under Section 1 of Act 372 of 2023.

        ANSWER: Plaintiff Miel Partain, as parent and next friend of Madeline Partain, objects

 to this interrogatory because it requires her to draw legal conclusions about Section 1 and Act

 372 which she is unqualified to make and, additionally, which section of Act 372 she asserts is

 unconstitutionally vague.

        INTERROGATORY NO. 2:                 For each item identified in response to Interrogatory

 No. 1, identify the chapter numbers, timestamps, or other specific indicator that you believe or

 your daughter believes make the item subject to Section 1.

        ANSWER: See answer to Interrogatory No. 1.

        INTERROGATORY NO. 3:                For the years 2019 to the present, identify every place

 from which your daughter, or you on her behalf, have loaned, rented, purchased, or browsed for

 books, including brick-and-mortar stores, online retailers, and libraries.

        ANSWER:

        Crawford County Public Library, Van Buren Branch, Van Buren High School Library and

numerous teacher's classrooms. Chapters on Main bookstore in Van Buren, AR, Novel bookstore in

Memphis, TN, Dickson Street Bookshop and Pearl's Books in Fayetteville, AR, Elliott Bay Book

Company in Seattle, WA, and Amazon.com. I have also borrowed numerous books from friends.

                                     Requests for Production

        REQUEST FOR PRODUCTION NO. 1: Produce copies of the portions of items iden-

 tified in response to Interrogatory No. 2 that you believe or your daughter believes make the item

 subject to regulation under Section 1 of Act 372 of 2023.
                                                  2
        RESPONSE: See answer to Interrogatory No. 1.

        REQUEST FOR PRODUCTION NO. 2: Produce all documents relied on in answering

 this First Set of Interrogatories and Requests for Production.

        RESPONSE: See answer to Interrogatory No. 1. Without waiving this objection, the

 response is “None.”

        Submitted this 18th day of March, 2024


                                               /s/Bettina E. Brownstein
                                               Ark. Bar No. 85019
                                               904 W. 2nd Street, Suite 2
                                               Little Rock, AR 72201
                                               Tel: (501) 920-1764
                                               E-mail: bettinabrownstein@gmail.com

                                               Attorney for Plaintiffs Hayden Kirby,
                                               Leta Caplinger, and Mel Partain in her
                                               own Capacity and as Mother and Next
                                               Friend of Madeline Partain.

                                               On Behalf of the Arkansas Civil

                                    VERIFICATION

       I, Miel Partain, as Parent and Next Friend of Madeline Partain, declare under
penalty of perjury under the laws of the United States of America that the foregoing is
true and correct.

               Executed on March 18, 2024 at Van Buren, Arkansas.

                                                      /s/ Miel Partain, as Parent and
                                                      Next Friend of Madeline Partain
                                                       Miel Partain


                                    CERTIFICATE OF SERVICE

        I, hereby certify that on this 18th day of March, 2024, I served the foregoing on all defense
counsel of record, including counsel for the propounding parties, Noah P. Watson, via e-mail.


                                                             /s/Bettina E. Brownstein

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